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                                     Main Document Page 1 of 2


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 10                                UNITED STATES BANKRUPTCY COURT
 11                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
 12                                  SAN FERNANDO VALLEY DIVISION
 13
                                                                    )     Lead Case No. 1:17-bk-12408-MB
 14 In re:                                                          )
    ICPW Liquidation Corporation, a California                      )     Jointly administered with: 1:17-bk-
 15 corporation,1
                                                                    )     12409-MB
 16              Debtor and Debtor in Possession.                   )
                                                                    )     Chapter 11 Cases
 17                                                                 )
                                                                    )   ORDER APPROVING AMENDED
 18 In re:                                                          )   JOINT STIPULATION RELATING
                                                                    )   TO DIRECTORS & OFFICERS
 19 ICPW Liquidation Corporation, a Nevada                              INSURANCE POLICIES
                                                                    )
    corporation,2                                                   )
 20
           Debtor and Debtor in Possession.                         )
 21                                                                 )
                                                                    )
 22                                                                 )
          X      Affects both Debtors                               )
 23
                                                                    )
                 Affects ICPW Liquidation Corporation, a            )
 24              California corporation only                        )
 25                                                                 )
                 Affects ICPW Liquidation Corporation, a            )
 26              Nevada corporation only                            )
 27                                                                 )
      1
 28       Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
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  1              The Court, having read and considered that certain Amended Joint Stipulation

  2 Relating to Directors & Officers Insurance Policy (the “Amended Stipulation”) entered into

  3 by and among Jeffrey Cordes and William M. Aisenberg (collectively, “Insureds”), ICPW

  4 Liquidation Corporation, a California corporation, formerly known as Ironclad Performance

  5 Wear Corporation, a California corporation and ICPW Liquidation Corporation, a Nevada

  6 corporation, formerly known as Ironclad Performance Wear Corporation, a Nevada

  7 corporation (collectively, the “Debtors”) and the Official Committee of Equity Holders

  8 (“OCEH”) [Docket No. 462], and it appearing that the Court has jurisdiction over this matter,

  9 and based upon all of the proceedings had before the Court; after due deliberation, and good

 10 and sufficient cause appearing therefore,

 11              IT IS HEREBY ORDERED that the Amended Stipulation is approved by the Court.

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      Gardere01 - 11157818v.2
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       Date: March 1, 2018
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